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                                                  UNITED STATES DISTRICT COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                               CASE NUMBER
OX LABS, INC.
                                                                                                 2:18-cv-05934-MWF KSY
                                                               Plaintiff(s)
                                      v.
                                                                                       ORDER ON APPLICATION OF NON-
BITPAY, INC.
                                                                                     RESIDENT ATTORNEY TO APPEAR IN A
                                                           Defendant(s).                 SPECIFIC CASE PRO HAC VICE

The Court, having determined whether the required fee has been paid, and having reviewed the
Application of Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
Kunin, Lawrence H.                                 of Morris, Manning & Martin, LLP
Applicant’s Name (Last Name, First Name & Middle Initial)                         1600 Atlanta Financial Center
404-504-7798                           404-365-9532                               3343 Peachtree Road, NE
Telephone Number                        Fax Number                                Atlanta, GA, 30326
lhk@mmmlaw.com
                             E-Mail Address                                       Firm/Agency Name & Address

 for permission to appear and participate in this case on behalf of
BITPAY, INC.



 Name(s) of Party(ies) Represented                                             Plaintiff(s)   Defendant(s)        Other:
 and designating as Local Counsel
Benjamin T. Wang                                                              of Russ, August & Kabat
 Designee’s Name (Last Name, First Name & Middle Initial)                         12424 Wilshire Boulevard
      228712            (310) 826-7474       (310) 826-6991                       12th Floor
Designee’s Cal. Bar No.       Telephone Number            Fax Number
                                                                                  Los Angeles, CA 90025
bwang@rakJaw.com
                              E-Mail Address                                      Firm/Agency Name & Address
                                                                        $PVOTFMJTSFNJOEFEUIBUDPNQMJBODFXJUIUIF-PDBM3VMFT
 HEREBY ORDERS THAT the Application be:                                 BOEUIJT$PVSUhT1SPDFEVSFTBOE4DIFEVMFTJTNBOEBUPSZ
      GRANTED.                                                          5IF$PVSUEJEOPUSFDFJWFUIFSFRVJSFEFMFDUSPOJDWFSTJPO
      DENIED:  for failure to pay the required fee.                     PGUIFQSPQPTFE0SEFS
                          for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                          for failure to complete Application:
                          pursuant to L.R. 83-2.1.3.2:       Applicant resides in California;     previous Applications listed indicate Applicant
                          is regularly employed or engaged in business, professional, or other similar activities in California.
                          pursuant to L.R. 83-2.1.3.4; Local Counsel:      is not member of Bar of this Court;  does not maintain office in District.
                          because

 IT IS HEREBY FURTHER ORDERED THAT the Application
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                                                                                                   ct Judge
                                                                              PEAR IN A SPECIFIC CASE PRO HAC VICE
G–64 ORDER (5/16) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR                            VIC
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